        Case 1:15-cv-07433-LAP Document 1320 Filed 01/03/24 Page 1 of 1




                                        January 3, 2024

VIA ECF

The Honorable Loretta A. Preska
District Court Judge
United States District Court
Southern District of New York
500 Pearl Street
New York, NY 10007

       Re:    Giuffre v. Maxwell, Case No. 15-cv-7433-LAP

Dear Judge Preska,

       Pursuant to the Court’s December 18, 2023, unsealing order, and following conferral with
Defendant, Plaintiff files this set of documents ordered unsealed. The filing of these documents
ordered unsealed will be done on a rolling basis until completed. This filing also excludes
documents pertaining to Does 105 (see December 28, 2023, Email Correspondence with
Chambers), 107, and 110 (see ECF No. 1319), while the Court’s review of those documents is
ongoing.

                                            Respectfully,

                                            /s/ Sigrid S. McCawley
                                            Sigrid S. McCawley


       cc: Counsel of Record (via ECF)
